Case 2:03-cv-02409-.]PI\/|-tmp Document 242 Filed 04/27/05 Page 1 of 3 Page|D 154

 

IN THE UNITED STATES DISTRICT COURT nw _ _ %
FOR THE WESTERN DISTRICT OF TENNESSEE lam ' , '~ :Lj rid ,J.‘s'? ii 4_
WESTERN DIVISION
l`~iL)E`:=:.:I-r‘," Fi. ‘..'ji "`;
'f`,f,'[:\"§.'§.` i).S. D'i `jf'_
`."vr.D. CF' T|`*i, NILNIPH[S
REBECCA H. TREACE, )
)
Plainriff, )
)
V. ) Civil ACtiO!l NO. 113-2409 Ml
)
UNUM LIFE INSURANCE COMPANY )
OF AMERICA, )
)
Defendant. )

 

[PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR EXTENSION
OF TIME TO RESPOND TO UNUM’S SUPPLEMENTAL MEMORANDUM IN
SUPPORT OF UNUM’S MOTION IN LIMINE TO EXCLUDE TRIAL
TESTIMONY FROM DAVID STRAUSER

 

This cause came to be heard upon the “Plaintiff’s Motion Extension of Tirne to
Respond to UNUM’S Supplemental Memorandum in Support of UNUM’S Motion in
Limine to Exclude Trial TeStimony from David StrauSer from all of Which the Court
finds that the Motion is Well taken and Should be granted

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED by this Court
that the Plaintiff has up to and including May 10, 2005 in Which to respond to UNUM’S

Supplernental Memorandum In Support of its Motion in Limine to Exc]ude Trial

Testimony From David Strauser. Q (O(M

Jud Jon P. McCalla
U ` ed States D_istrict Judge
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Case 2:03-cv-O2409-.]PI\/|-tmp Document 242 Filed 04/27/05 Page 2 of 3 Page|D 155

 

CERTlFICATE OF SERVICE
The undersigned certifies that a true and exact copy of the foregoing document
has been forwarded to the following attorney via U.S. Mail this the day of April
2005:

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This notice confirms a copy of the document docketed as number 242 in
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Honorable .l on l\/lcCalla
US DISTRICT COURT

